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IN THE UNITED sTATEs DISTRICT CoURT FIUED B`r "“;Z o.r;_
FoR THE WEsTERN nlsTRlcT 0F TENNESSEE j
WESTERN DIVISION 05 JUN ! 5 AH 9: l 3

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UNITED STATES OF AMERICA )

Plaintiff, §
VS § CR. NO. 03-20181-1\/11
TERRY LEE DOWNS §

Defendant. ))

 

*E-X-T-E-N-D-E-D ORDER TO SURRENDER

 

The defendant, Ten'y Lee Downs, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Memphis SCP,
1101 John A. Denie Road, Memphis, TN 38134 by 2:00 p.m. on *WEDNESDAY. AUGUST 17,

2005.
IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall

report immediately to the Office of the Clerk, Federal Off`lce Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the

defendant Will report as ordered to the facility named above.

wallet

J 0 PHIPPS McCALLA
U TED STATES DISTRICT JUDGE

ENTERED this the fig day ofJune, 2005.

 

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and/or 32(\:») FaCrP on _..Z£;,/=>_);QQ_

 

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ACKNOWLEDGMENT

l agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITED sTATE DRISTIC COURT - W'"ERNT D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:03-CR-20181 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

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Honorable J on l\/lcCalla
US DISTRICT COURT

